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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

JULIE D. VALORA,

Plaintiff,
No.
VS.
ST. ANDREW’S EPISCOPAL
CHURCH :
Defendant. : JURY TRIAL DEMANDED
COMPLAINT

AND NOW COl\/IES Plaintiff Julie D. Valora (“Plaintift”) hy and through her attorneys
Arny H. Marshall, Esquire and Babst, Calland, Clements and Zomnir, P.C. and files this
Complaint against St. Andrew’s Episcopal Church (“Defendant”) in support thereof and avers as
follows:

JURIS])ICTION

l. This Court has jurisdiction over this action pursuant to the Americans With
Disabilities Act (“ADA”) of 1990, 42 U.S.C. § 12101 et seq.

2. This Court can exercise personal jurisdiction over Defendant because, among
other things, Defendant continuously and systematically conducts business in the
Cornrnonwealth of Pennsylvania. Defendant employed Plaintiff in the Middle District of
Pennsylvania and Defendant terminated Plaintiff in the Middle District of Pennsylvania.

3. Defendant employed at least fifteen (15) employees meeting the definition of a

“covered'entity” under the Americans with Disabilities Act of 1990 pursuant to 42 U.S.C. §

12111.

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VENUE
4. Venue is proper in this judicial district because the unlawful employment practice
alleged in the Complaint Was committed Within the Middle District of Pennsylvania; Defendant
regularly conducts business in the Middle District of Pennsylvania; Plaintiff Would be employed
in the Middle District of Pennsylvania, but for the unlawful employment practices and Defendant
employs numerous individuals in the Middle District of Pennsylvania. Accordingly, venue lies

in the United States District Court for the l\/liddle District of Pennsylvania.

PARTIES

5. Plaintiff is an adult individual, Who at all times relevant to the allegation in this
Complaint resided in Bellefonte, Centre County, Pennsylvania. At the time of her terminationJ
Plaintiff Was on an approved medical leave. Plaintiff avers that she is an eligible employee
pursuant to the Americans With Disabilities Act.

6. Defendant is a religious organization Within Centre County, Pennsylvania, located
at 208 West F oster Avenue, State College, Pennsylvania, l6801. The Defendant’s main office is
the Episcopol Diocese of Central Pennsylvania located at 101 Pine Street, Harrisburg,
Pennsylvania, l7l()l.

7. At all relevant times hereto, Defendant Was Plaintiff’s employer and Was an
employer Within the meaning of the Americans With Disabilities Act.

8. Defendant has employed more than fifteen (15) employees and Defendant is a

“covered entity” Within the meaning of the ADA 42 U.S.C. § 12111.

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ADMINISTRATIVE PROCEEDINGS

9. Plaintiff has exhausted all administrative remedies

10. Plaintiff timely filed Written charges alleging discrimination and retaliation With
the Pennsylvania Hurnan Relations Commission (PHRC) and the United States Equal
Employment Opportunity (EEOC) on August 9, 2015.

11. Plaintiff received a Notice of Right to Sue Letter from the EEOC on January 19,
2018.

l2. Plaintiff has filed this Complaint Within ninety (90) days of receipt of the Notice
of Right to Sue Letter from the EEOC and Within two (2) years of the Plaintift’s dismissal from
the PHRC.

FACTUAL BACKGROUNI)

13. On or around Septernber, 2007, the Plaintiff commenced employment With St.
Andrew’s Episcopal Church (“Church”).

14. Plaintiff Was employed as an Administrative Assistant With Defendant.

15. Plaintiff Was in treatment for anxiety since high school.

16. Plaintiff Was originally diagnosed With Anxiety Disorder in April, 2013.

1-7'. Plaintiff’s diagnosis Was revised in October, 2014 to included Panic Disorder
Without agoraphobia.

18. Plaintiff’s disorder substantially limited her ability to interact With others and to
sit for long periods of time. Plaintiff Would become anxious, jittery and nervous

19. Plaintiff’ s job duties required her to interact With multiple people during the day,
handling private matters With parishioners, speaking in front of large crowds as Well as teaching

two classes at the request of the Diocese.

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20. Due to Plaintiff’ s high level of competence recognized by the Diocese, Linda
Arguedas requested Plaintiff to train other church employees in the Diocese to use her techniques
and practices since her Work Was highly regarded Richard Wall requested Plaintiff to staff the
Diocese Bishop search and the final Retreat for the search.

2l. The additional responsibilities given to Plaintiff increased her Work load
significantly and at times required her to travel out of the area and have overnight stays.

22. Plaintiff handled private matters for the parishioners.

23. Defendant asked Plaintiff to perform additional duties to include managing some
of the facilities issues, such as scheduling the rooms and making sure the proper set-up Was
there.

24. Beginning in April, 2013, Plaintiff had specific conversations vvith Father Richard
Wall and fellow staff members, including Nurse Jerrilyn Kern, financial Secretary J ill Ascah,
Christian Education Director Robin Bagby, Treasurer Sue Stephenson, Youth Ministry
Coordinator Darlene Nordoff, Parish Membership Secretary Gloria l\/.[eder and Sexton Scott
Luzier, advising them of her medical issues.

25. ln April, 2013, Defendant specifically referred Plaintiff to an Ernployee
Assistance Prograrn (CIGNA) that provides services for employees of St. Andrews Episcopal
Church.

26. As a result of the CIGNA Program, Plaintiff received ten free sessions beginning
on April 5, 20l3 and Plaintiff continued to Worl<; during this time.

27. Defendant specifically gave Plaintiff a second referral to the Employee Assistance
Prograni (CIGNA) and Plaintiff Was authorized to receive ten free sessions due to her recurring

anxiety and panic attacks and she began said treatments on November 16, 2014.

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28. Halfway through the sessions With her therapist through the ClGNA Program,
Plaintiff advised her therapist her employer terminated her even though her employer referred
her for the assistance and treatment

29. Defendant Was aware Plaintiff Was receiving recurring treatment on a regular
basis as a result of her medical issues.

30. Plaintiff provided Defendant With the name of her doctor and therapist and gave
Defendant permission to call them to discuss Plaintiffs condition

31. Defendant never contacted Plaintiff’ s medical providers and Defendant Was
specifically aware of Plaintiff s treatments

32. Plaintiff requested reasonable accommodations from Defendant so that she Would
be able to perform her job.

33. The accommodations requested by Plaintiff vvere reasonable and did not create
any hardship on Defendant as Defendant did not have to hire any additional employees during
this time.

34. ln the fall of 2014, Defendant requested Plaintiff take on additional assignments,
such as the Bishop Search, along With her regular duties.

35. in the fall of 2014, Plaintiff’ s anxiety increased and her panic disorder Was no
longer controllable

36. The increased pressure of performing the additional assignments aggravated
Plaintiff s condition and made it more difficult for Plaintiff to manage her medical condition

37. Plaintiff Was continually given more vvorl<; and increasingly more time consuming
responsibilities

38. In early October, ‘ 2014, Plaintiff requested accommodations of occasionally

vvorking in a private room, taking short Walks during long meetings and obtaining permission to

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attend doctor appointments When necessary in fact, Father Wall is the one Who suggested the
short Wall<s.

39. Defendant provided limited accommodations to Plaintiff’s requests from early
October, 2014, until November 17, 2014.

40. Plaintiff spoke vvith Nurse Kern on or around Novernber 17', 2014, about her
disability

41. Nurse Kern advised Plaintiff that she and Father Wall Were concerned about her
and requested she take a leave of absence

42. Nurse Kern did not have any information relative to Whether Plaintiff’s leave
Would be paid or unpaid.

43. Defendant had no formal leave policy but clearly provided a leave to Plaintiff
based on her medical condition and the need for accommodations

44. On November 17, 2014, Plaintiff Was granted a medical leave of absence

45. On November 17, 2014, Father Richard Wall provided a leave to Plaintiff so that
she could Work on improving her health.

46. On November 17, 2014, Father Richard Wall sent a text message to Plaintiff
telling her “not to vvorry about Worl<, and to focus on getting vvell.”

47. On December l, 2014, vvhile the Plaintiff Was on an approved medical leave for
Anxiety and Panic Disorder, Plaintiff Was terminated from her employment vvith the Church.

48. Defendant scheduled a meeting With Plaintiff for December 4, 2014.

49. Plaintiff believed the reason for the meeting vvas to discuss her return to her job.

50. Plaintiff entered the meeting at the church alone only to find four individuals in a
room, namely, Father Wall, Nurse Kern, Attorney David Gaines and Junior Warden Koraly

Perez Edgar.

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51. it Was then on December 4, 2014, While the Plaintiff Was on an approved medical
leave, that Plaintiff Was informed that she had been terminated effective December 1, 2014.

52. Defendant’s reason for terminating Plaintiff Was that “it’s not Working out.”

53. At the time the Church’s representatives and attorney met With Plaintiff on
December 4, 2014, a severance agreement Was offered to Plaintiff Which included two (2)
months of compensation The severance agreement included a requirement that Plaintiff Waive

her right to sue the Church. As a result of the requirement, Plaintiff did not sign the severance

agreement

54. 'l`he Church stated the reason for termination vvas a performance issue

55. Plaintiff had never been evaluated for her performance since the date she began
employment in 2007.

56. Plaintiff Was never given any notice that her performance was deficient or that she

had any performance issues

57. Plaintiff never received any feedback relating to any performance deficits and in
fact, any feedback relative to Plaintiff’s job duties Was extremely positive

58. Defendant violated Section 5(a) of the Pennsylvania Human Relations Act, 43
P.S. 951-963.

INTERFERENCE WITH AMERICANS WITH DISABILITIES ACT ANI)

PENNSYLVANIA HUMAN RELATIONS ACT
Count 1

59. Plaintiff incorporates by reference the averments of Paragraphs 1~25 of the

Complaint as if the same Were set forth in full.

60. The ADA provides that a covered entity “shall not discriminate against a qualified

individual With a disability

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61. Defendant’s conduct in terminating the Plaintiff is contrary to the Plaintiffs rights
under the ADA inasmuch as the Defendant has interfered With the Plaintiff’s ability to take the
ADA/medical leave and Defendant refused to provide a reasonable accommodation

62. Defendant’s conduct Was With maliceJ and/or reckless indifference to Plaintiff’s
federally protected rights

63. As a direct and proximate result of the above~mentioned employment practices
Plaintiff was deprived of her job and has lost in common the form of back and front pay, fringe
benefits, retirement contributions medical insurance and lost future job opportunities for which
Plaintiff seeks damages under the ADA.

WHEREFORE, Plaintiff demands judgment against the Defendant and damages in an
amount that this Court and a jury deem fair and reasonable including, but not limited to, front
pay, back pay from the date of the wrongful acts, equitable relief, compensatory damages
punitive damages, liquidated damages prejudgment interest, post~judgment interest and
reasonable attorney’s fees including litigation expenses and the costs in this action.

DISCRIMINATION/RETALIATION VIOLATION OF THE AMERICANS
WITH DISABILITIES ACT AND THE PENNSYLVANIA HUMAN
RELATIONS ACT
Count II

64. Plaintiff incorporates by reference the averments of Paragraphs 1-30 of the
Complaint as if the same Were set forth in full.

65. Plaintiff vvas eligible for ADA leave

66. Defendant approved the Plaintiff for an ADA leave on November l7, 2014.

67. Defendant was aware of the Plaintiff s medical condition, which required the

ADA leave

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68. For years Plaintiff suffered from anxiety and panic disorder.
69. The Defendant was aware that the Plaintiff was suffering from anxiety and panic
disorder.

70. Defendant provided limited accommodation to Plaintiff from early October, 2014
through November 17, 2014.

71. The Defendant terminated the Plaintiffs employment for “performance based
issues.”

72. Defendant terminated Plaintiff effective December l, 2014.

73. Defendant retaliated against Plaintiff by discharging her six (6) weeks after she
requested a reasonable accommodation for her disability

74. Defendant violated Section S(d) of the Pennsylvania Human Relations Act, 43
P.S. 951-963.

75. Defendant’s motivation for terminating the Plaintiff was connected causally to
Plaintiff s assertion of her rights under the Americans with Disabilities Act.

76. As a direct and proximate result of the above-mentioned employment practices
Plaintiff was deprived of her job and has lost in common the form of back and front pay, fringe
benefits retirement contributions medical insurance and lost future job opportunities for which
Plaintiff seeks damages under the ADA.

WHEREFORE, Plaintiff demands judgment against Defendant and damages in an
amount that this Court and a jury deem fair and reasonable including but not limited to, front

pay, back pay from the date of the wrongful acts, equitable relief, compensatory damages,

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prejudgment interest, post judgment interest and reasonable attorney’s fees including litigation

expenses, and the costs in this action.

Respectively submitted,

BABST, CALLAND, CLEMENTS AND
ZOMNIR, P.C.

By: /s/ Amy H. Marshall

Amy H. Marshall, Esquire
Date: April 18, 2018 Attomey for Plaintiff

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